Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
02/15/2019 01:05 AM CST




                                                         - 226 -
                                  Nebraska Supreme Court A dvance Sheets
                                          302 Nebraska R eports
                                    IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                                                Cite as 302 Neb. 226



                             In   re I nterest of K amille C. and K amiya C.,
                                        children under 18 years of age.
                                           Nateesha B., appellant, v.
                                             Samuel C., appellee.
                                                    ___ N.W.2d ___

                                         Filed February 8, 2019.   No. S-18-651.

                1.	 Jurisdiction: Appeal and Error. When a jurisdictional question does
                    not involve a factual dispute, its determination is a matter of law, which
                    requires an appellate court to reach a conclusion independent of the
                    decision made by the lower court.
                2.	 Juvenile Courts: Jurisdiction: Statutes. As a statutorily created court
                    of limited and special jurisdiction, a juvenile court has only such author-
                    ity as has been conferred on it by statute.
                3.	 Juvenile Courts: Jurisdiction: Child Custody: Parental Rights.
                    During proceedings under Neb. Rev. Stat. § 43-247(3)(a) (Reissue
                    2016), the juvenile court has broad jurisdiction under Neb. Rev. Stat.
                    § 43-284 (Reissue 2016) regarding placement, but its discretion is gov-
                    erned by the parental preference doctrine that holds that in a child cus-
                    tody controversy between a biological parent and one who is neither a
                    biological nor adoptive parent, the biological parent has a superior right
                    to the custody of the child.
                4.	 Juvenile Courts: Jurisdiction. The juvenile court loses jurisdiction to
                    order compliance with dispositional plans once it has terminated juris-
                    diction over the juvenile and the parties.
                5.	 Juvenile Courts: Statutes: Legislature: Child Custody. In enacting
                    Neb. Rev. Stat. § 43-246.02 (Supp. 2017), authorizing bridge orders, the
                    Legislature crafted a solution for temporary continuity when the child is
                    no longer in need of the juvenile court’s protection; the juvenile court
                    has made, through a dispositional order, a custody determination in the
                    child’s best interests; and the juvenile court does not wish to enter a
                    domestic relations custody decree under the power granted by Neb. Rev.
                    Stat. § 25-2740(3) (Reissue 2016).
                                     - 227 -
              Nebraska Supreme Court A dvance Sheets
                      302 Nebraska R eports
               IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                           Cite as 302 Neb. 226
 6.	 Juvenile Courts: Courts: Jurisdiction: Child Custody. A juvenile
     court can ensure through a bridge order that during the transfer of juris-
     diction to the district court for entry of a custody decree, the custody
     arrangement that the juvenile court has found to be in the child’s best
     interests remains in place.
 7.	 Juvenile Courts: Courts: Legislature: Jurisdiction: Child Custody:
     Time. The Legislature, through enacting Neb. Rev. Stat. § 43-246.02     (Supp. 2017), bridged the gap that would otherwise occur between the
     time that the juvenile court terminated its jurisdiction and the district
     court picked up the case, by avoiding a reversion, before district court
     proceedings can be commenced, back to whatever custody arrangement
     controlled before adjudication.
 8.	 Juvenile Courts: Final Orders: Parental Rights. Juvenile court pro-
     ceedings are special proceedings, and an order in a juvenile special pro-
     ceeding is final and appealable if it affects a parent’s substantial right to
     raise his or her child.
 9.	 Final Orders: Words and Phrases. A substantial right is an essential
     legal right, not a mere technical right.
10.	 Final Orders. It is not enough that the right itself be substantial; the
     effect of the order on that right must also be substantial.
11.	 Final Orders: Appeal and Error. Most fundamentally, an order affects
     a substantial right when the right would be significantly undermined or
     irrevocably lost by postponing appellate review.
12.	 ____: ____. If the right affected would not be significantly undermined
     by delaying appellate review, then the order falls under the general
     prohibition of immediate appeals from interlocutory orders. This gen-
     eral prohibition operates to avoid piecemeal appeals arising out of the
     same set of operative facts, chaos in trial procedure, and a succession
     of appeals in the same case to secure advisory opinion to govern further
     actions of the trial court.
13.	 Constitutional Law: Child Custody: Parental Rights: Time. Custody
     is generally considered an essential legal right implicating a parent’s
     fundamental, constitutional right to raise his or her child, but the dura-
     tion of a court’s order is also relevant to whether an order affects a
     substantial right.
14.	 Child Custody: Jurisdiction: Intent. A bridge order is designed to pre-
     serve the status quo by continuing the placement with the noncustodial
     parent until the matter can be heard in district court, if either of the par-
     ties are dissatisfied with the custody decree that the district court enters
     in accordance with the bridge order.
15.	 Final Orders. An order merely preserving the status quo pending a
     further order is not final.
                                     - 228 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                 IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                             Cite as 302 Neb. 226
16.	 Jurisdiction: Appeal and Error. Immediate appellate review of a
     bridge order would undermine the rights affected more than it would
     vindicate them.
17.	 Jurisdiction: Final Orders. A bridge order is not final for purposes of
     Neb. Rev. Stat. § 25-1902 (Reissue 2016).

  Appeal from the Separate Juvenile Court of Lancaster
County: Linda S. Porter, Judge. Appeal dismissed.
   Joy Shiffermiller, of Shiffermiller Law Office, P.C., L.L.O.,
for appellant.
  Megan M. Zobel, of Anderson, Creager &amp; Wittstruck, P.C.,
L.L.O., for appellee.
  Miller-Lerman,             Cassel,     Stacy,    Funke,    Papik,    and
Freudenberg, JJ.
      Freudenberg, J.
                      NATURE OF CASE
   This appeal involves a “bridge order,” which was cre-
ated by L.B. 180 in 2017,1 and is codified in Neb. Rev. Stat.
§ 43-246.02 (Supp. 2017). Under § 43-246.02(1), a “juvenile
court may terminate its jurisdiction under subdivision (3)(a)
of section 43-247 by transferring jurisdiction over the juve-
nile’s custody, physical care, and visitation to the district court
through a bridge order,” if certain criteria are met. A bridge
order solely addresses matters of legal and physical custody
and parenting time when a juvenile has been placed by the
juvenile court with a legal parent.2 The bridge order in this
case was entered after the adjudication of five children under
Neb. Rev. Stat. § 43-247(3)(a) (Reissue 2016), who had been
in the mother’s sole legal and physical custody. Two of those
children had the same father, with whom they were placed dur-
ing the ongoing juvenile proceedings. The bridge order gave

 1	
      2017 Neb. Laws, L.B. 180, § 1 (eff. Aug. 24, 2017).
 2	
      See § 43-246.02(1)(c) and (4).
                              - 229 -
           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
            IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                        Cite as 302 Neb. 226
the father legal and physical custody, with substantial visitation
by the mother. The mother contests the bridge order, arguing
that it was inappropriate under the circumstances, because
by the time the bridge order was entered, the Department of
Health and Human Services (DHHS) had conceded that the
children could safely be placed back in her care and custody.
Because we determine that bridge orders are not final for pur-
poses of Neb. Rev. Stat. § 25-1902 (Reissue 2016), we dismiss
the appeal for lack of jurisdiction.

                       BACKGROUND
   On July 11, 2017, a petition was filed under § 43-247(3)(a)
to adjudicate Kamille C. and Kamiya C., as well as three
siblings who are not the subject of this appeal. The children
resided with their mother, Nateesha B. In a prior proceeding,
Samuel C. had been determined to be the biological father of
Kamille and Kamiya and had been ordered to pay child sup-
port. The petition alleged that Nateesha had been found in
possession of controlled substances after a traffic stop. Kamille
and Kamiya were 5 years old at the time.
   On July 13, 2017, the juvenile court issued an ex parte
order of temporary emergency custody of all five children with
DHHS, which, after a hearing on July 19, the court ordered to
be continuing.
   Nateesha admitted the allegations in the petition, and the
children were adjudicated on October 6, 2017. The court
ordered that Kamille and Kamiya be physically placed in
Samuel’s home and that Nateesha be allowed to exercise rea-
sonable rights of supervised parenting time. Samuel’s child
support payments were suspended during this time.
   The dispositional order was issued on November 21, 2017.
The court ordered that Kamille and Kamiya, as well as the
other adjudicated children, remain in the temporary legal cus-
tody of DHHS, while Nateesha worked on a permanency plan
for reunification. Kamille and Kamiya’s placement was to con-
tinue with Samuel.
                             - 230 -
           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
            IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                        Cite as 302 Neb. 226
   At a dispositional review hearing on January 10, 2018, the
court ruled that the children should remain in the temporary
legal custody of DHHS and that Kamille and Kamiya should
remain in their placement with Samuel.
   On April 24, 2018, pursuant to a motion by DHHS, the
court ordered the placement change of one of Kamille and
Kamiya’s siblings from foster care back into Nateesha’s home,
subject to further hearing at the request of any party. In the
affidavit in support of the motion, DHHS noted that it had also
requested that another sibling be placed back with Nateesha,
but that a hearing on the request had not yet been held. A
DHHS specialist averred that Nateesha had regularly complied
with the permanency plan by submitting to drug testing and
being negative for any and all substances during the prior 2
months. Additionally, Nateesha had been following the guide-
lines of her outpatient treatment and was doing well. The
DHHS specialist described Nateesha as providing a “safe and
stable home.”
   There are no further orders regarding Kamille and Kamiya’s
siblings in the appellate record.
   Samuel moved for a bridge order under § 43-246.02, which
would close the juvenile case as to Kamille and Kamiya and
transfer jurisdiction over their physical care, custody, and par-
enting time to the district court. The motion alleged that the
children were safely placed with Samuel, that there was not
a district court order for custody in place, that there were no
other related pending cases before the juvenile court, and that
the juvenile court could safely close the juvenile case as to
Kamille and Kamiya once orders for custody, physical care,
and parenting time were in place.
   The court held a hearing on May 24, 2018, on Samuel’s
motion for a bridge order. According to testimony at the
hearing, approximately 1 month prior, Nateesha had begun
having unsupervised visitation with Kamille and Kamiya,
with periodic drop-ins, on two week nights a week. She had
begun having unsupervised visitation on the weekends, with
                              - 231 -
           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
            IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                        Cite as 302 Neb. 226
periodic drop-ins, approximately 2 weeks prior to the hearing.
Transportation for visitation was provided by DHHS.
   Evidence submitted at the hearing demonstrated that by
March 2018, Nateesha’s home was considered to be safe and
drug free. However, a child and family services specialist with
DHHS who was assigned to Kamille and Kamiya’s case testi-
fied that she believed it was in the children’s best interests for
Samuel to have the legal and physical custody of the children,
with visitation rights for Nateesha. The specialist testified that
the children had been living with Samuel full time for approxi-
mately 1 year and had adjusted well and formed a strong bond
with Samuel.
   On May 29, 2018, the court issued, as to Kamille and
Kamiya, a bridge order and an attached parenting plan. The
court found that it was in Kamille and Kamiya’s best interests
to have their legal and physical custody with Samuel and that
the juvenile court’s jurisdiction over Kamille and Kamiya be
transferred to the district court. The parenting plan provided
that Samuel have primacy in the choices regarding Kamille and
Kamiya’s education, religious upbringing, and medical needs.
Nateesha was to have visitation with Kamille and Kamiya
every Tuesday commencing at 4:30 p.m. and concluding at
7:30 p.m., every Wednesday commencing at 4 p.m. and con-
cluding at 7:30 p.m., and every Friday commencing at 4:30
p.m. and concluding Sunday at 10 a.m.
   The court scheduled the next dispositional review hearing
for the other three adjudicated children on August 6, 2018.
   Nateesha appeals from the bridge order.

                ASSIGNMENTS OF ERROR
   Nateesha assigns, summarized, that the juvenile court erred
by (1) denying her due process right to an impartial decision-
maker by adducing evidence and thereby acting as an advocate
for one of the parties, (2) receiving into evidence a report of
the Foster Care Review Board over her hearsay objection, (3)
finding that the bridge order was necessary, and (4) finding
                                      - 232 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                 IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                             Cite as 302 Neb. 226
that the best interests of the children would be served by plac-
ing legal and physical custody with Samuel.
                   STANDARD OF REVIEW
   [1] When a jurisdictional question does not involve a factual
dispute, its determination is a matter of law, which requires an
appellate court to reach a conclusion independent of the deci-
sion made by the lower court.3
                           ANALYSIS
   This appeal involves a “bridge order” entered pursuant to
§ 43-246.02, which was enacted through L.B. 180 in 2017.
Specifically, Nateesha challenges the domestic relations cus-
tody determination made in the bridge order in this appeal.
   Before L.B. 180, there was no provision in the law for
bridge orders. This is the first time we have addressed a bridge
order under the newly enacted statute. A bridge order is part
of the juvenile code governing the juvenile court, but was
designed as a “bridge” between juvenile courts and district
courts.4 The unique nature of a bridge order raises the question
of whether it is final under § 25-1902. In a juvenile case, as
in any other appeal, before reaching the legal issues presented
for review, it is the duty of an appellate court to determine
whether it has jurisdiction over the matter before it.5 For an
appellate court to acquire jurisdiction of an appeal, there must
be a judgment or final order entered by the court from which
the appeal is taken.6
   To understand whether a bridge order is final, we must
understand what, precisely, it does. We must, therefore, exam-
ine the respective roles of juvenile and district courts and the
newly enacted statutory scheme.

 3	
      Tilson v. Tilson, 299 Neb. 64, 907 N.W.2d 31 (2018).
 4	
      See Neb. Rev. Stat. §§ 43-245 to 43-2,129 (Reissue 2016 &amp; Cum. Supp.
      2018).
 5	
      In re Interest of Octavio B. et al., 290 Neb. 589, 861 N.W.2d 415 (2015).
 6	
      Neb. Rev. Stat. § 25-1911 (Reissue 2016).
                                      - 233 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                 IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                             Cite as 302 Neb. 226
   [2] Pursuant to Neb. Const. art. V, § 27, the juvenile court
is a statutorily created tribunal established by the Legislature
“with such . . . powers as the Legislature may provide.” Each
county, depending on its population, has either a separate juve-
nile court or a county court with authority to sit as a juvenile
court.7 As a statutorily created court of limited and special
jurisdiction, a juvenile court has only such authority as has
been conferred on it by statute.8
   [3] Section 43-247 gives the juvenile court jurisdiction as
to any juvenile defined in subdivision (3) of that section. The
dual purpose of proceedings brought under § 43-247(3)(a),
which alleges that the juvenile is homeless, destitute, or with-
out proper support through no fault of the parent, guardian,
or custodian, is to protect the welfare of the child and to
safeguard the parent’s right to properly raise his or her own
child.9 During proceedings under § 43-247(3)(a), the juvenile
court has broad jurisdiction under Neb. Rev. Stat. § 43-284(Reissue 2016) regarding placement, but its discretion is gov-
erned by the parental preference doctrine that holds that
in a child custody controversy between a biological parent
and one who is neither a biological nor adoptive parent, the
biological parent has a superior right to the custody of the
child.10 The juvenile court’s authority and duty thus includes
“to make reasonable efforts to preserve and reunify the family
if required under section 43-283.01,”11 as well as “[t]o pro-
mote adoption, guardianship, or other permanent arrangements

 7	
      See § 43-2,111 and Neb. Rev. Stat. § 24-517(10) (Reissue 2016).
 8	
      In re Interest of Jaden H., 263 Neb. 129, 638 N.W.2d 867 (2002).
 9	
      In re Interest of Constance G., 247 Neb. 629, 529 N.W.2d 534 (1995).
10	
      See, In re Interest of Amber G. et. al., 250 Neb. 973, 554 N.W.2d 142      (1996), disapproved on other grounds, In re Interest of Lilly S. &amp; Vincent
      S., 298 Neb. 306, 903 N.W.2d 651 (2017); In re Interest of Stephanie H. et
      al., 10 Neb. App. 908, 639 N.W.2d 668 (2002).
11	
      Neb. Rev. Stat. § 43-246(5) (Reissue 2016).
                                     - 234 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                 IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                             Cite as 302 Neb. 226
for children in the custody of [DHHS] who are unable to
return home.”12
   The district court traditionally determines custody matters
as between unmarried parents when juvenile services are not
required.13 In such cases, the parental preference doctrine is
not implicated, because there is no controversy between a
biological parent and one who is neither a biological nor adop-
tive parent.
   Neb. Rev. Stat. § 43-245(12) (Reissue 2016) provides in part:
“Nothing in the Nebraska Juvenile Code shall be construed to
deprive the district courts of their habeas corpus, common-law,
or chancery jurisdiction or the county courts and district courts
of jurisdiction of domestic relations matters as defined in sec-
tion 25-2740.” Neb. Rev. Stat. § 25-2740(1)(a) (Reissue 2016)
includes “custody” within the definition of the term “[d]omes-
tic relations matters.” Thus, up until amendments passed by the
Legislature in 2008, domestic relations custody determinations
between two parents were not within the scope of the juvenile
court’s jurisdiction under § 43-247(3)(a). They were matters
exclusively under the jurisdiction of the district court.
   At the same time, district courts were discouraged from
making custody or visitation determinations while a juvenile
court was exercising its jurisdiction over a child.14 For exam-
ple, in Ponseigo v. Mary W.,15 we affirmed the district court’s
refusal to consider a petition for grandparent visitation while
a case involving the juvenile’s adjudication under § 43-247(3)
continued in juvenile court. We noted the relative specificity of
the relevant statutes as well as the need to avoid the possibility
of conflicting orders from different courts.16

12	
      § 43-246(6).
13	
      See In re Interest of Ethan M., 18 Neb. App. 63, 774 N.W.2d 766 (2009).
14	
      Compare Ponseigo v. Mary W., 267 Neb. 72, 672 N.W.2d 36 (2003), with
      Schleuter v. McCuiston, 203 Neb. 101, 277 N.W.2d 667 (1979).
15	
      Ponseigo v. Mary W., supra note 14.
16	
      See id.                                      - 235 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                 IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                             Cite as 302 Neb. 226
   As explained by the Nebraska Court of Appeals in In re
Interest of Ethan M.,17 through amendments to § 25-2740(3)
in 2008, the Legislature expanded the juvenile court’s sub-
ject matter jurisdiction so that it could enter domestic rela-
tions custody orders for children over whom the juvenile
court already had jurisdiction for another purpose. Section
25-2740(3) refers to subsection (2), which describes domestic
relations matters that shall be filed with the district court,
and states that “a county court or separate juvenile court
which already has jurisdiction over the child whose paternity
or custody is to be determined has jurisdiction over such
paternity or custody determination.” Before the 2008 amend-
ments, this language referred only to paternity determinations.
The express intent of the amendments was to remedy the
problem that arose because the juvenile court lacked juris-
diction over domestic relations custody determinations and
the district court would not make domestic relations custody
determinations over a child while under the juvenile court’s
jurisdiction.18
   However, the procedures for making domestic relations cus-
tody determinations were not changed by the 2008 amend-
ments and needed to be followed by the juvenile court in order
to make a custody determination as between two parents.19
These procedures differ depending upon whether there is a
prior custody decree, but include the filing of a petition or a
complaint20 and the development of a parenting plan as pro-
vided in the Parenting Act.21
   [4] In In re Interest of Ethan M., the Court of Appeals noted
that when the juvenile court does not enter a final custody
order under the appropriate procedures for domestic relations

17	
      In re Interest of Ethan M., supra note 13.
18	
      See id. See, also, Ponseigo v. Mary W., supra note 14.
19	
      See In re Interest of Ethan M., supra note 13.
20	
      See § 25-2740(2).
21	
      See Neb. Rev. Stat. § 42-364 (Reissue 2016).
                                    - 236 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                 IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                             Cite as 302 Neb. 226
matters, but merely enters a dispositional order placing the
child with the noncustodial parent, such order can no longer
be enforced once the court terminates its jurisdiction over the
juvenile case.22 Under § 43-247(12), the juvenile court retains
jurisdiction as to any individual adjudicated under various
subsections, including subsection (3)(a), only “until the indi-
vidual reaches the age of majority or the court otherwise dis-
charges the individual from its jurisdiction.” Thus, the juvenile
court loses jurisdiction to order compliance with dispositional
plans once it has terminated jurisdiction over the juvenile and
the parties.23
   One of the reasons the juvenile court may terminate its juris-
diction over a juvenile is that the child is no longer in need
of protection.24 And § 43-246.02(1)(d) indicates that a bridge
order is appropriate only when the juvenile case can safely be
closed. Section 43-246.02(1)(d) states that one of the neces-
sary criteria for a bridge order is that the juvenile court has
determined “its jurisdiction under subdivision (3)(a) of section
43-247 should properly end once orders for custody, physical
care, and visitation are entered by the district court.” Section
43-246.02(3)(a) provides that any motion for a bridge order
shall allege that “the juvenile court action filed under subdivi-
sion (3)(a) of section 43-247 may safely be closed once orders
for custody, physical care, and visitation have been entered by
the district court.” The Introducer’s Statement of Intent was to
authorize the creation of “‘Bridge Orders’ to transfer a case
from juvenile court to district court when a noncustodial parent
has been deemed fit to safely care for a child, and close the
unnecessary juvenile case.”25

22	
      See id.
23	
      See In re Interest of Lisa V., 3 Neb. App. 559, 529 N.W.2d 805 (1995).
24	
      In Interest of Amanda H., 4 Neb. App. 293, 542 N.W.2d 79 (1996).
25	
      Introducer’s Statement of Intent, L.B. 180, Judiciary Committee, 105th
      Leg., 1st Sess. (Jan. 26, 2017).
                                      - 237 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                 IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                             Cite as 302 Neb. 226
   A bridge order “shall only address matters of legal and
physical custody and parenting time,”26 but it is not a domestic
relations custody decree. As such, the procedural requirements
leading up to the bridge order of custody are significantly less
onerous than for a domestic relations custody decree under
§ 25-2740(3). The Legislature noted in enacting L.B. 180 that
juvenile courts do not always have the time on their dockets to
determine domestic relations custody matters.27 Accordingly,
§ 43-246.02(4) specifically states that “[t]he Parenting Act
shall not apply to the entry of the bridge order in juvenile
or district court” and that “[n]o mediation or specialized
alternative dispute resolution under section 42-364 shall be
required . . . .”
   [5] In enacting § 43-246.02, authorizing bridge orders, the
Legislature crafted a solution for temporary continuity when
the child is no longer in need of the juvenile court’s protec-
tion; the juvenile court has made, through a dispositional order,
a custody determination in the child’s best interests; and the
juvenile court does not wish to enter a domestic relations cus-
tody decree under the power granted by § 25-2740(3). Such
custody decree is instead entered by the district court after
the transfer of jurisdiction over the child from juvenile court
to district court, which transfer is inherent to the bridge order.
Section 43-246.02(1) states that “[a] juvenile court may termi-
nate its jurisdiction under subdivision (3)(a) of section 43-247
by transferring jurisdiction over the juvenile’s custody, physi-
cal care, and visitation to the district court through a bridge
order . . . .” Section 43-246.02(5) states that “[u]pon transfer-
ring jurisdiction from a juvenile court to a district court, the
clerk of the district court shall docket the case under either
a new docket or any previous docket establishing custody or
paternity of a child.”

26	
      § 43-246.02(4).
27	
      Judiciary Committee Hearing, L.B. 180, 105th Leg., 1st Sess. 79 (Jan. 26,
      2017).
                                    - 238 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                 IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                             Cite as 302 Neb. 226
    Upon transfer, the district court shall “give full force and
effect to the juvenile court bridge order as to custody and
parenting time.”28 However, either party may “file a petition
in district court for modification of the bridge order” and, if
filed within 1 year after the filing date of the bridge order,
“the party requesting modification shall not be required to
demonstrate a substantial change of circumstance but instead
shall demonstrate that such modification is in the best interests
of the child.”29 In such modification proceedings, the statutory
scheme requires no deference to the juvenile court’s judgment
of the child’s best interests. Further, § 43-246.02(6) now pro-
vides that “[t]he transfer of jurisdiction shall not result in new
filing fees and other court costs being assessed against the
parties.”30 In other words, the custody determination made by
the juvenile court has no legally preclusive effect and will be
made anew by the district court if either parent is discontent
with the custody arrangement originally set forth by the bridge
order. And § 43-246.02(6) ensures that there will be no new
filing costs when seeking what in effect is a de novo review of
the best interests of the child.
    [6,7] To summarize the statutory scheme, a bridge order is
a tool for juvenile courts to temporarily ensure continuity for
the child without endeavoring to issue a final custody decree.
A juvenile court can ensure through a bridge order that during
the transfer of jurisdiction to the district court for entry of a
custody decree, the custody arrangement that the juvenile court
has found to be in the child’s best interests remains in place.
The Legislature, through enacting § 43-246.02, bridged the gap
that would otherwise occur between the time that the juvenile
court terminated its jurisdiction and the district court picked
up the case, by avoiding a reversion, before district court

28	
      § 43-246.02(6) (now found at § 43-246.02(7) (Cum. Supp. 2018)).
29	
      § 43-246.02(8) (now found at § 43-246.02(9) (Cum. Supp. 2018)).
30	
      See 2018 Neb. Laws, L.B. 708, § 1 (eff. July 19, 2018).
                                      - 239 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                 IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                             Cite as 302 Neb. 226
proceedings can be commenced, back to whatever custody
arrangement controlled before adjudication.
   [8-10] The unique nature of the bridge order does not place
it squarely within our final order jurisprudence. Juvenile court
proceedings are special proceedings, and an order in a juvenile
special proceeding is final and appealable if it affects a parent’s
substantial right to raise his or her child.31 A substantial right
is an essential legal right, not a mere technical right.32 It is
not enough that the right itself be substantial; the effect of the
order on that right must also be substantial.33
   [11,12] “Most fundamentally, an order affects a substantial
right when the right would be significantly undermined or
irrevocably lost by postponing appellate review.”34 If the right
affected would not be significantly undermined by delaying
appellate review, then the order falls under the general pro-
hibition of immediate appeals from interlocutory orders. This
general prohibition operates to avoid piecemeal appeals arising
out of the same set of operative facts, chaos in trial procedure,
and a succession of appeals in the same case to secure advisory
opinion to govern further actions of the trial court.35
   As stated, a bridge order is an order transferring jurisdiction
over the child from the juvenile court to the district court. We
held in In re Interest of Sandrino T.36 that the transfer from
juvenile court to county court of juvenile cases brought under
Neb. Rev. Stat. § 43-246.01 (Reissue 2016) was not a final
order. We held that the court in which the case would proceed

31	
      Id.32	
      In re Estate of Abbott-Ochsner, 299 Neb. 596, 910 N.W.2d 504 (2018).
33	
      Id.34	
      Tilson v. Tilson, supra note 3, 299 Neb. at 71, 907 N.W.2d at 37.
35	
      See In re Adoption of Madysen S. et al., 293 Neb. 646, 879 N.W.2d 34      (2016).
36	
      Compare, e.g., In re Interest of Sandrino T., 295 Neb. 270, 888 N.W.2d
      371 (2016), with In re Interest of L.P. and R.P., 240 Neb. 112, 480 N.W.2d
      421 (1992).
                                       - 240 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                  IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                              Cite as 302 Neb. 226
for the delinquency proceedings was a mere technical right and
not a substantial right and that the right affected by the transfer
order could be effectively vindicated in an appeal at the con-
clusion of the criminal proceedings.37
   [13] A bridge order does more than simply transfer the case
to district court. It orders a change in custody as between two
parents. Still, such order is merely temporary until given “full
force and effect”38 by the district court, and it has no legally
preclusive effect in the event that either parent wishes to chal-
lenge it in district court. Custody is generally considered an
essential legal right implicating a parent’s fundamental, con-
stitutional right to raise his or her child, but the duration of
a court’s order is also relevant to whether an order affects a
substantial right.39
   We have held that certain orders affecting custody or other
parental rights had a substantial effect on those rights and
were, therefore, final, despite being of limited duration. Such
cases generally involve either (1) a change in permanency plan
or (2) orders of substantial or uncertain duration.40 Further,
such cases involve the State’s taking significant parenting
contact or parental prerogatives away from a parent and, thus,
implicate the parental preference doctrine.41 In contrast, in

37	
      In re Interest of Sandrino T., supra note 36.
38	
      § 43-246.02(6) (now found at § 43-246.02(7) (Cum. Supp. 2018)).
39	
      See In re Interest of Karlie D., 283 Neb. 581, 811 N.W.2d 214 (2012).
40	
      See, In re Interest of LeVanta S., 295 Neb. 151, 887 N.W.2d 502 (2016);
      In re Interest of Octavio B. et al., supra note 5; In re Interest of Mya C.
      &amp; Sunday C., 286 Neb. 1008, 840 N.W.2d 493 (2013). See, also, In re
      Interest of Karlie D., supra note 39.
41	
      Compare In re Interest of Becka P. et al., 296 Neb. 365, 894 N.W.2d 247      (2017), and In Interest of Loomis, 195 Neb. 552, 239 N.W.2d 266 (1976),
      with In re Interest of Danaisha W. et al., 287 Neb. 27, 840 N.W.2d 533      (2013), In re Interest of Borius H. et al., 251 Neb. 397, 558 N.W.2d 31      (1997), and In re Interest of Stephanie H. et al., supra note 10. But see In
      re Interest of Jaydon W. &amp; Ethan W., 25 Neb. App. 562, 909 N.W.2d 385      (2018).
                                      - 241 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                  IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                              Cite as 302 Neb. 226
several other juvenile court cases, we have found that orders
temporarily affecting a parent’s custodial, visitation, or edu-
cational rights were not final. This has generally been when it
was clear that the orders will be for a very limited duration.42
Despite the importance of the rights affected, we held that such
orders of limited duration failed to have a substantial effect on
those rights.43
   The temporary custody orders that we have held to be final
are distinguishable from bridge orders inasmuch as bridge
orders do not change the requirements for reunification and
they are not orders determining a child custody controversy
between a biological parent and one who is neither a biologi-
cal nor adoptive parent. The constitutional right at issue in a
domestic relations custody decree is usually the right of visita-
tion.44 And, when the custody-related rights have been affected
by orders entered in the context of domestic relations between
two parents, such orders have been held not to be final, and
thus not immediately appealable, when the court has yet to
decide pending matters such as child support.45 Even an order
depriving a parent of all visitation in an underlying custody
dispute between two parents has been held not to be final,
when the order was temporary.46 We have implicitly determined
that the parent’s rights affected by the order can be effectively
vindicated even when the parent must wait to appeal until all
pending matters are resolved.

42	
      See, In re Interest of Danaisha W. et al., supra note 41; In re Interest of
      R.R., 239 Neb. 250, 475 N.W.2d 518 (1991); Gerber v. Gerber, 218 Neb.
      228, 353 N.W.2d 4 (1984); In re Interest of Angeleah M. &amp; Ava M., 23
      Neb. App. 324, 871 N.W.2d 49 (2015), disapproved on other grounds, In
      re Estate of Abbott-Ochsner, supra note 32; In re Interest of Nathaniel P.,
      22 Neb. App. 46, 846 N.W.2d 681 (2014).
43	
      Tilson v. Tilson, supra note 3.
44	
      See Koch v. Koch, 219 Neb. 195, 361 N.W.2d 548 (1985).
45	
      See Schepers v. Schepers, 236 Neb. 406, 461 N.W.2d 413 (1990).
46	
      See Steven S. v. Mary S., 277 Neb. 124, 760 N.W.2d 28 (2009). See, also,
      Tilson v. Tilson, supra note 3.
                                       - 242 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                  IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                              Cite as 302 Neb. 226
   Furthermore, in a somewhat different domestic relations
context of a custody order during military deployment,47 we
held, in Huskey v. Huskey,48 that an order changing sole legal
and physical custody from the mother to the father while
the mother was deployed for 8 months was not a final order
because it was temporary. The temporary custody order during
deployment that was addressed in Huskey is similar to a bridge
order insofar as it automatically continues to be in effect until
one of the parties files a motion. Section 43-2929.01(5) pro-
vided that upon the return of the military parent from mobili-
zation or deployment, either parent may request a rehearing or
reinstatement of a prior order. If the temporary order was the
initial order, the court is required to rehear the matter and make
a new determination. And if the temporary order was a modi-
fication, the court is required to reinstate the original order
unless the best interests of the child or child support guidelines
require otherwise. It thus contemplates further action without
issue preclusion as to the best interests determination made in
relation to the temporary order. Such an order is considered
temporary and without a substantial effect on important cus-
tody rights.49
   [14,15] A bridge order is designed to preserve the status
quo by continuing the placement with the noncustodial par-
ent until the matter can be heard in district court, if either of
the parties are dissatisfied with the custody decree that the
district court enters in accordance with the bridge order. The
initial placement with Samuel occurred during a dispositional
order, which would have been final under § 25-1902,50 and

47	
      Neb. Rev. Stat. § 43-2929.01(4)(a) (Cum. Supp. 2012) (see, currently,
      Neb. Rev. Stat. § 43-4601 et seq. (Reissue 2016)).
48	
      Huskey v. Huskey, 289 Neb. 439, 855 N.W.2d 377 (2014). See, also,
      Carmicheal v. Rollins, 280 Neb. 59, 783 N.W.2d 763 (2010).
49	
      See id.50	
      See In re Interest of Karlie D., supra note 39. See, also, In re Interest of
      Tayla R., 17 Neb. App. 595, 767 N.W.2d 127 (2009).
                                       - 243 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                  IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                              Cite as 302 Neb. 226
Nateesha did not appeal that dispositional order. We have said
in similar contexts that an order merely preserving the status
quo pending a further order is not final.51
    Granted, placement while working toward reunifica-
tion is not the same as a domestic relations custody order.
Nevertheless, because Nateesha can immediately move for a
de novo reevaluation in district court of whether the custody
decree is in Kamille and Kamiya’s best interests—without a
showing of a change of circumstances or incurring additional
filing fees or costs—we ultimately conclude that any rights
affected by the bridge order would not be significantly under-
mined or irrevocably lost if not immediately appealable to our
appellate courts.
    We recognize that some things will change due to the
transfer. If Nateesha moves to modify the custody decree that
gives full force and effect to the bridge order, she will have
to demonstrate that the child’s best interests are served by a
different arrangement and she will no longer have the right to
appointment of counsel. Still, parties generally do not have a
right to counsel in domestic relations matters and the provi-
sion for modification in district court without demonstrat-
ing a change of circumstances operates as a form of review
that can be accessed more quickly and with less cost than a
direct appeal.
    Even if we were to review the bridge order, such review
would serve no purpose other than to extend its duration. Any
determination upon direct review of the juvenile court’s bridge
order would have little meaning, because under the statutory
scheme, the best interests determination could be made anew
by the district court regardless.
    [16,17] Immediate appellate review of a bridge order
would undermine the rights affected more than it would vin-
dicate them. The goal of quickly resolving domestic relations

51	
      See Tilson v. Tilson, supra note 3.
                                      - 244 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                 IN RE INTEREST OF KAMILLE C. &amp; KAMIYA C.
                             Cite as 302 Neb. 226
custody disputes would be hindered, not assisted, by permit-
ting interlocutory appeals of bridge orders.52 For this rea-
son, we hold that a bridge order is not final for purposes of
§ 25-1902.

                        CONCLUSION
   Because we lack appellate jurisdiction, the appeal is
dismissed.
                                            A ppeal dismissed.
   Heavican, C.J., participating on briefs.

52	
      See Steven S. v. Mary S., supra note 46.
